






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00095-CR


NO. 03-10-00096-CR


NO. 03-10-00097-CR







Adrian Navarro, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT


NOS. D-1-DC-09-300222, D-1-DC-09-300223 &amp; D-1-DC-09-300379;


HONORABLE FRED A. MOORE, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



In the first cause, a jury found appellant Adrian Navarro guilty of promotion of child
pornography and assessed his punishment at imprisonment for twenty years and a $10,000 fine.  See
Tex. Penal Code Ann. § 43.26(e) (West 2003).  In the other causes, the jury found appellant guilty
of aggravated sexual assault of a child under six and attempted aggravated sexual assault of a child
under six and assessed his punishment for each offense at imprisonment for ninety-nine years and
a $10,000 fine.  See id. § 15.01(a) (West 2003), § 22.021(a)(1)(B)(ii), (f)(1) (West Supp. 2010).  In
two points of error, appellant complains of prosecutorial misconduct and ineffective assistance by
his trial counsel.  We overrule these contentions and affirm the judgments of conviction for
promotion of child pornography and aggravated sexual assault.  We affirm the finding of guilt in the
attempted aggravated sexual assault case, but remand that cause for reassessment of punishment
within the proper statutory range.

On January 22, 2009, Austin police officers went to appellant's apartment to
investigate reports of stolen property being kept there.  Appellant lived in the apartment with his
common law wife, his five-year-old stepdaughter, his two-year-old daughter, and an infant son. 
During the initial search of the apartment, which was conducted with the wife's written consent, the
officers found several photographs that appeared to be child pornography.  The officers contacted
the child abuse unit, and Detective Joel Pridgeon of that unit arrived shortly thereafter.  After
examining the photographs and confirming that they were child pornography, Pridgeon interviewed
appellant outside the apartment.  Appellant told Pridgeon that he had received a computer, videos,
and photographs from a relative in San Angelo during a visit the previous week.  According to
appellant, it was only after he returned to Austin that he realized that the material he had been given
included child pornography.  Appellant told Pridgeon that he had been intending to throw away the
material.  This interview was recorded, and it was admitted in evidence and played for the jury.

Pridgeon seized the computer, a separate hard drive, the videos, and the photographs. 
Appellant then went with Pridgeon to the police department to give a further statement.  In this
statement, which was also recorded and shown to the jury, appellant repeated what he had said
earlier about how he came to possess the offensive materials.  After making this statement, appellant
was allowed to leave.

A police computer forensic examiner searched the contents of the computer and hard
drive seized at appellant's apartment.  The examiner found over six hundred digital images and
nineteen videos depicting children engaged in sexual activity.  One of these videos showed a man
with the word "Navarro" tattooed on his abdomen placing his erect penis in the mouth of a girl who
appeared to be younger than six and attempting to place his penis in the mouth of a child who
appeared to be one year old.  Appellant's wife was also in the video, and the background
surroundings appeared to be appellant's apartment.  After seeing these images, Pridgeon sought to
arrest appellant but learned that he had gone to Mexico with his family.

Appellant was arrested in Mexico and returned to Austin on January 31, 2009. 
Appellant gave a third recorded statement, also in evidence, in which he admitted being the tattooed
man in the video and identified the two children as his stepdaughter and daughter.  He also admitted
making the video.

The video in question was admitted in evidence and shown to the jury.  The State also
introduced a number of the pornographic photographs that had been discovered during the initial
search of appellant's apartment.  Pridgeon testified that these images bore watermarks showing that
they had been downloaded from internet sites dedicated to child pornography.

Appellant testified at the guilt-innocence stage.  He claimed that the police did not
have consent to search the apartment, and he said that he had been coerced into making his
statements.  He claimed that the pornographic materials had been "planted" on his computer by
another person.  During cross-examination, however, appellant admitted having made the
video&nbsp;of&nbsp;him placing his penis in his stepdaughter's mouth and attempting to place his penis in his
daughter's&nbsp;mouth.  Appellant described his conduct as a "[v]ery ignorant mistake" and "a bad
parental&nbsp;decision."

In his first point of error, appellant complains of what he contends were improper
statements made by the prosecutors during final arguments at the guilt and punishment stages of the
trial.  Appellant concedes that no objections were made to the statements.  See Threadgill v. State,
146 S.W.3d 654, 670 (Tex. Crim. App. 2004) (failure to object to jury argument forfeits right to
complain about argument on appeal); Cockrell v. State, 933 S.W.2d 73, 89 (Tex. Crim. App. 1996)
(same).  Appellant urges, however, that the statements were so inflammatory and prejudicial as to
deny him due process and due course of law.  See U.S. Const. amend. XIV; Tex. Const. art. I, § 19. 

To constitute a denial of due process--and to excuse a defendant's failure to
object--it is not enough that a prosecutor's remarks were undesirable or even universally
condemned.  Jimenez v. State, 240 S.W.3d 384, 402 (Tex. App.--Austin 2007, pet. ref'd) (quoting
Darden v. Wainwright, 477 U.S. 168, 181 (1986)).  Prosecutorial misconduct does not assume
constitutional dimension unless the evidence is so insubstantial that it is probable that no conviction
would have occurred but for the remarks.  Id. (citing Guidroz v. Lynaugh, 852 F.2d 832, 838
(5th&nbsp;Cir. 1988)).

The prosecutorial arguments at the guilt stage of which appellant complains were:


 "When he took that stand yesterday, there was no remorse. . . .  There was no
apology to the victims."



Appellant contends that this was an improper reference to his non-testimonial demeanor.



 "Now, I'm never going to have enough evidence with the defense."



Appellant contends that this statement struck at him over the shoulders of counsel.




 "Detective Pridgeon should be commended.  In 12 years it's the best investigation
I've seen.  Textbook."



Appellant asserts that this was improper bolstering and injected the personal opinion of
the&nbsp;prosecutor.


 "And then I remember your faces when the videos were played.  The only dry eye
in the house was his."



Appellant urges that this constituted a comment on appellant's failure to testify.



 "If there's ever a crime that's as heinous as this, I don't know."



Appellant argues that this injected the prosecutor's personal opinion.



 "I want you to go back there and I want you to send him a message, two messages. 
The first one is: What you did Adrian was wrong and you're guilty. And the second
[is] we did it, we found you guilty, in a matter of minutes. . . .  And I want you to do
it in minutes because there is no doubt."



Appellant contends that this argument asked the jury to render a verdict without reasoned and
thorough deliberation.

Appellant's contention that the prosecutors indirectly commented on his failure to
testify fails for the simple reason that appellant did testify.  Beyond this observation, we hold that
if the complained-of comments were improper, they did not rise to the level of a denial of due
process either individually or collectively.  Appellant admitted his guilt in his testimony and in his
statements to the police.  Given appellant's admissions and the other evidence of guilt, it is highly
improbable that, but for these remarks by the prosecutors, appellant would not have been convicted.

The other prosecutorial arguments cited by appellant were made at the punishment
stage:


 "There's a video out there folks.  There's a video of a girl with her father's penis
in her mouth.  She'll never know when that surfaces."



Appellant complains that this argument assumes a fact not in evidence, namely, that he had made
the video available to others.


 "The years of therapy those kids are going [to] need, the waking up in the middle
of the night when they're 30 and 40, is that video out there?  What if [appellant's
stepdaughter] has her own children?  And they ask where's Grandpa?  Or if, God
forbid, one of her kids sees the video."



Appellant urges that this argument also assumes facts not in evidence and asks the jury to speculate
on the victims' futures.


 "What happens when [appellant's stepdaughter] gets a telephone call says he might
be out?  How is she going to feel?  Imagine that."



Appellant contends that this argument improperly asks the jurors to put themselves in the
victim's&nbsp;shoes.


 "Make sure that when you return your verdict people in this community know
enough and sentence him to the term he deserves, the same term he sentenced the
victim in this case.  Sentence him to life."



Appellant asserts that the prosecutor was improperly asserting that the community was demanding
a life sentence.

Pridgeon testified that child pornography is exchanged over the internet on "peer to
peer trading systems" in which "the computers will reach inside of each other and trade those
photos--trade those files directly."  The computer forensic examiner testified that the video of
appellant abusing his daughters was found in a digital file on the computer hard drive.  It was a
reasonable deduction from this evidence for the prosecutor to assert that the video was "out there." 
The prosecutor's last argument was a proper plea for law enforcement rather than an improper appeal
to community expectations.

If the remaining punishment arguments were improper, they did not, even when
considered together with the arguments at the guilt stage made earlier the same day, deny appellant
due process.  Admittedly, the jurors assessed punishments at or near the maximums authorized by
the court's charge for these offenses.  But appellant was guilty of truly reprehensible conduct. 
Appellant not only sexually assaulted his five-year-old stepdaughter and attempted to sexually
assault his two-year-old daughter, he made a video recording of these assaults and placed the
recording in a computer file which could easily be transmitted to any computer linked to the internet. 
It is improbable that the jurors would have assessed lesser punishments if the prosecutors' arguments
had not been made.  Point of error one is overruled.

In point of error two, appellant contends that his trial counsel rendered ineffective
assistance.  To prevail on this claim, appellant must show by a preponderance of the evidence that
counsel made such serious errors that she was not functioning effectively as counsel and that these
errors prejudiced appellant's defense to such a degree that he was deprived of a fair trial.  Strickland
v. Washington, 466 U.S. 668, 687 (1984); Perez v. State, 310 S.W.3d 890, 892-93 (Tex. Crim. App.
2010).  To satisfy the first, performance component of Strickland, appellant must overcome a strong
presumption that counsel's conduct fell within the wide range of reasonable professional assistance. 
Strickland, 466 U.S. at 688; Perez, 310 S.W.3d at 893.  Any allegation of defective representation
must be firmly founded in the record, and the record must affirmatively demonstrate the alleged
ineffectiveness.  Mallett v. State, 65 S.W.3d 59, 63 (Tex. Crim. App. 2001).  To satisfy the second,
prejudice component of Strickland, appellant must show that, but for counsel's deficient
performance, the result of the trial would have been different.  Strickland, 466 U.S. at 694; Perez,
310 S.W.3d at 893.

Appellant's principal complaint is that his trial attorney failed to object to the jury
arguments discussed above.  Because appellant is raising this issue for the first time on appeal, we
have no evidence regarding trial counsel's reason or reasons for not objecting.  But even if we were
to assume that there was no justification for counsel's failure to object, appellant has not shown by
a preponderance of the evidence that the result of the trial would have been different had appellant
successfully objected and obtained instructions to disregard.  For the reasons we have already
discussed, it is improbable that the arguments were a but-for cause of either the conviction or
the&nbsp;punishments.

Appellant cites several other instances of what he considers to be ineffective
assistance.  Appellant asserts that counsel failed to obtain rulings on pretrial motions, but he does
not discuss the merits of these motions or explain how the failure to rule prejudiced the defense. 
Appellant complains that his attorney did not object to the video and photographic evidence, but he
does not state a basis for objection or attempt to show why the objection would have been proper. 
Appellant complains that his attorney asked few questions of the State's witnesses, but he does not
identify fruitful areas of questioning that were not explored by counsel.  Appellant complains that
his attorney made short jury arguments, but he does not explain why we would be justified in
second-guessing counsel in this regard.  Appellant asserts that his attorney allowed him to testify in
narrative form, but he does not suggest how this harmed him.  Moreover, the record reflects that his
attorney advised appellant not to testify.  Finally, appellant complains that his attorney asked the
jurors if they believed appellant's testimony.  This is a reference to counsel's guilt stage argument
regarding the jury charges, each of which instructed the jurors that they were to consider appellant's
statements to the police only if they found beyond a reasonable doubt that the statements had been
freely and voluntarily made without compulsion or persuasion.  In her argument, counsel told the
jurors that if they believed that appellant's statements were coerced, as he had testified, they should
not consider the statements as evidence.  We find no impropriety in this argument.

Appellant has not met his burden of persuasion as to either prong of Strickland.  Point
of error two is overruled.

A criminal attempt is one punishment category lower than the offense attempted. 
Tex. Penal Code Ann. § 15.01(d) (West 2003).  Aggravated sexual assault is a first degree felony. 
Id. § 22.021(e) (West Supp. 2010).  The minimum punishment for an aggravated sexual assault is
increased if the victim is a child younger than six, but the offense remains a first degree felony.  Id.
§&nbsp;22.021 (f)(1).  Thus, attempted aggravated sexual assault of a child under six is a second degree
felony.  The trial court erroneously instructed the jury that the attempt offense was a first degree
felony, and the ninety-nine year prison term assessed by the jury and imposed in the judgment
exceeds that legally authorized for the offense.  A sentence not authorized by law is void.  Mizell
v.&nbsp;State, 119 S.W.3d 804, 806 (Tex. Crim. App. 2003).  Although there was no objection below and
this issue is not raised by appellant, an appellate court may take notice of a void sentence.  Id. at 807.

The judgments of conviction for promotion of child pornography and aggravated
sexual assault of a child under six are affirmed.  The judgment of conviction for attempted
aggravated sexual assault of a child under six is affirmed as to the finding of guilt, but that portion
of the judgment imposing sentence is reversed, and the cause is remanded to the district court for
reassessment of punishment within the proper punishment range.  See Tex. Code Crim. Proc. Ann.
art. 44.29(b) (West Supp. 2010).



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Nos. 03-10-00095-CR and 03-10-00096-CR:  Affirmed

No. 03-10-00097-CR:  Affirmed in part, Reversed and Remanded in part

Filed:   November 5, 2010

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